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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


    ANDY KIM, et al.,                                 Civ. A. No.: 3:24-1098 (ZNQ/TJB)
                    Plaintiffs,

                    v.                                      NOTICE OF APPEAL
    CHRISTINE GIORDANO HANLON, in her
    capacity as Monmouth County Clerk, et al.,
                    Defendants.

         NOTICE IS HEREBY GIVEN that Defendants Joseph Giralo, John S. Hogan, Joanne

  Schwartz, Joseph Ripa, Rita M. Rothberg, Celeste M. Riley, Christopher J. Durkin, James M.

  Hogan, E. Junior Maldonado, Mary H. Melfi, Paula Sollami Covello, Nancy J. Pinkin,

  Christine Giordano Hanlon, Ann Grossi, Danielle Ireland-Imhof, Steve Peter, Joanne Rajoppi,

  in their official capacities as Clerks of Atlantic, Bergen, Burlington, Camden, Cape May,

  Cumberland, Essex, Gloucester, Hudson, Hunterdon, Mercer, Middlesex, Monmouth, Morris,

  Passaic, Somerset and Union Counties, New Jersey, respectively, appeal, pursuant to 28 U.S.C.

  § 1292(a)(1), to the United States Court of Appeals for the Third Circuit from the Order (ECF

  No. 195) and Opinion (ECF No. 194) granting Plaintiffs’ motion for a preliminary injunction

  entered on March 29, 2024.

  Dated: March 29, 2024

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                                         James N. Hogan, in his official capacity
                                         as Gloucester County Clerk, Rita Rothberg, in
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